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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

 COSMOKEY SOLUTIONS GMBH                   )
 & CO. KG,                                 )
                                           )
              Plaintiff,                   ) C.A. No. 18-1477-CFC
                                           )
       v.                                  )
                                           )
 DUO SECURITY, INC.,                       )
                                           )
              Defendant.                   )

                      [PROPOSED] SCHEDULING ORDER

       This __ day of February, 2023, the Court having conducted an initial Rule

 16(b) scheduling conference pursuant to Local Rule 16.1(b), and the parties

 having determined after discussion that the matter cannot be resolved at this

 juncture by settlement, voluntary mediation, or binding arbitration:

       IT IS ORDERED that:

       1.     Relevant Deadlines and Dates. All relevant deadlines and

 dates established by this Order are set forth in the chart attached as Exhibit

 A.

       2.     Rule 26(a)(1) Initial Disclosures. The parties shall make their

 initial disclosures required by Federal Rule of Civil Procedure 26(a)(1)

 within fourteen days of the date of this Order. If the parties agree it is
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 necessary, the parties shall submit a proposed electronic discovery (ESI)

 order within thirty (30) days from the date of entry of this Order.

       3.     Disclosure of Asserted Claims and Infringement Contentions. No

 later than April 21, 2023, a party claiming patent infringement shall serve on all

 parties a “Disclosure of Asserted Claims and Infringement Contentions.”

 Separately for each opposing party, the Disclosure of Asserted Claims and

 Infringement Contentions shall contain the following information:

              (a)    Each claim of each asserted patent that is allegedly infringed

       by each opposing party, including for each claim the applicable statutory

       subsections of 35 U.S.C. § 271 asserted;

              (b)    Separately for each asserted claim, each accused apparatus,

       product, device, process, method, act, or other instrumentality (“Accused

       Instrumentality”) of each opposing party of which the party is aware. This

       identification shall be as specific as possible. Each product, device, and

       apparatus shall be identified by name or model number, if known. Each

       method or process shall be identified by name, if known, or by any product,

       device, or apparatus that, when used, allegedly results in the practice of the

       claimed method or process;

              (c)    A chart identifying specifically where and how each limitation

       of each asserted claim is found within each Accused Instrumentality,


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       including for each limitation that such party contends is governed by 35

       U.S.C. § 112(f), the identity of the structure(s), act(s), or material(s) in the

       Accused Instrumentality that performs the claimed function;

             (d)      For each claim alleged to have been indirectly infringed, an

       identification of any direct infringement and a description of the acts of the

       alleged indirect infringer that contribute to or are inducing that direct

       infringement. Insofar as alleged direct infringement is based on joint acts

       of multiple parties, the role of each such party in the direct infringement

       must be described;

             (e)      Whether each limitation of each asserted claim is alleged to be

       present in the Accused Instrumentality literally or under the doctrine of

       equivalents;

             (f)      For any patent that claims priority to an earlier application, the

       priority date to which each asserted claim is alleged to be entitled;

             (g)      If a party claiming patent infringement wishes to preserve the

       right to rely, for any purpose, on the assertion that its own or its licensee’s

       apparatus, product, device, process, method, act, or other instrumentality

       practices the claimed invention, the party shall identify, separately for each

       asserted claim, each such apparatus, product, device, process, method, act,




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       or other instrumentality that incorporates or reflects that particular claim

       (“Embodying Instrumentality”);

             (h)    The timing of the point of first infringement, the start of

       claimed damages, and the end of claimed damages; and

             (i)    If a party claiming patent infringement alleges willful

       infringement, the basis for such allegation.

       4.    Document Production Accompanying Disclosure of Asserted

 Claims and Infringement Contentions. With the Disclosure of Asserted Claims

 and Infringement Contentions, the party claiming patent infringement shall

 produce to each opposing party or make available for inspection and copying:

             (a)    Documents (e.g., contracts, purchase orders, invoices,

       advertisements, marketing materials, offer letters, beta site testing

       agreements, and third party or joint development agreements) sufficient to

       evidence each discussion with, disclosure to, or other manner of providing

       to a third party, or each sale of or offer to sell, or any public use of, the

       claimed invention prior to the date of application for the asserted patent(s);

             (b)    All documents evidencing the conception, reduction to

       practice, design, and development of each claimed invention, which were

       created on or before the date of application for the asserted patent(s) or the




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       priority date identified pursuant to paragraph 3(f) of this Order, whichever

       is earlier;

              (c)    A copy of the file history for each asserted patent;

              (d)    All documents evidencing ownership of the patent rights by the

       party asserting patent infringement;

              (e)    If a party identifies instrumentalities pursuant to paragraph 3(g)

       of this Order, documents sufficient to show the operation of any aspects or

       elements of such instrumentalities the patent claimant relies upon as

       embodying any asserted claims;

              (f)    All agreements, including licenses, transferring an interest in

       any asserted patent;

              (g)    All agreements that the party asserting infringement contends

       are comparable to a license that would result from a hypothetical reasonable

       royalty negotiation;

              (h)    All agreements that otherwise may be used to support the party

       asserting infringement’s damages case;

              (i)    If a party identifies instrumentalities pursuant to paragraph 3(g)

       of this Order, documents sufficient to show marking of such Embodying

       Instrumentalities; and if the party wants to preserve the right to recover lost




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       profits based on such products, the sales, revenues, costs, and profits of such

       Embodying Instrumentalities; and

              (j)    All documents comprising or reflecting a F/RAND

       commitment or agreement with respect to the asserted patent(s).

 The producing party shall separately identify by production number the documents

 that correspond to each category set forth in this paragraph. A party’s production of a

 document as required by this paragraph shall not constitute an admission that such

 document evidences or is prior art under 35 U.S.C. § 102.

       5.     Invalidity Contentions. No later than June 21, 2023, each party

 opposing a claim of patent infringement shall serve on all parties its “Invalidity

 Contentions,” which shall contain the following information:

              (a)    The identity of each item of prior art that the party alleges

       anticipates each asserted claim or renders the claim obvious. Each prior art

       patent shall be identified by its number, country of origin, and date of issue.

       Each prior art publication shall be identified by its title, date of publication,

       and, where feasible, author and publisher. Each alleged sale or public use

       shall be identified by specifying the item offered for sale or publicly used or

       known, the date the offer or use took place or the information became known,

       and the identity of the person(s) or entity(ies) that made the use or made and

       received the offer, or the person(s) or entity(ies) that made the information


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        known or to whom it was made known. For pre-AIA claims, prior art under

        35 U.S.C. § 102(f) shall be identified by providing the name of the person(s)

        from whom and the circumstances under which the invention or any part of it

        was derived. For pre-AIA claims, prior art under 35 U.S.C. § 102(g) shall be

        identified by providing the identities of the person(s) or entity(ies) involved in

        and the circumstances surrounding the making of the invention before the

        patent applicant(s);

               (b)   Whether each item of prior art anticipates each asserted claim or

        renders it obvious. If obviousness is alleged, an explanation of why the prior

        art renders the asserted claim obvious, including an identification of any

        combinations of prior art showing obviousness;

               (c)   A chart identifying specifically where and how in each alleged

        item of prior art each limitation of each asserted claim is found, including, for

        each limitation that such party contends is governed by 35 U.S.C.

  § 112(f), the identity of the structure(s), act(s), or material(s) in each item of prior

  art that performs the claimed function; and

               (d)   Any grounds of invalidity based on 35 U.S.C. § 101,

        indefiniteness under 35 U.S.C. § 112(b), or lack of enablement or

        insufficient written description under 35 U.S.C. § 112(a) of any of the

        asserted claims.


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       6.    Document Production Accompanying Invalidity Contentions. With

 the Invalidity Contentions, the party opposing a claim of patent infringement

 shall produce or make available for inspection and copying:

             (a)    Source code, specifications, schematics, flow charts, artwork,

       formulas, or other documentation sufficient to show the operation of any aspects

       or elements of an Accused Instrumentality identified by the patent claimant in its

       chart produced pursuant to paragraph 3(c) of this Order;

             (b)    A copy or sample of the prior art identified pursuant to

       paragraph 5(a) that does not appear in the file history of the patent(s) at

       issue. To the extent any such item is not in English, an English translation

       of the portion(s) relied upon shall be produced;

             (c)    All agreements that the party opposing infringement contends are

       comparable to a license that would result from a hypothetical reasonable

       royalty negotiation;

             (d)    Documents sufficient to show the sales, revenue, cost, and

       profits for Accused Instrumentalities identified pursuant to paragraph 3(b)

       of this Order for any period of alleged infringement; and

             (e)    All agreements that may be used to support the damages case

       of the party opposing infringement.




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 The producing party shall separately identify by production number the

 documents that correspond to each category set forth in this paragraph.

       7.     Amendment to Contentions. Amendment of the Infringement

 Contentions or the Invalidity Contentions may be made only by order of the Court

 upon a timely showing of good cause. Non-exhaustive examples of circumstances

 that may, absent undue prejudice to the non-moving party, support a finding of good

 cause include (a) recent discovery of material prior art despite earlier diligent search

 and (b) recent discovery of nonpublic information about the Accused

 Instrumentality that was not discovered, despite diligent efforts, before the service

 of the Infringement Contentions. The duty to supplement discovery responses does

 not excuse the need to obtain leave of the Court to amend contentions.

       8.     Joinder of Other Parties and Amendment of Pleadings. [Plaintiff’s

 Proposal: All motions to join other parties, and to amend or supplement the

 pleadings, shall be filed on or before June 21, 2023, except with respect to

 seeking leave to plead inequitable conduct, which shall be filed on or before

 February 16, 2024.] [Defendant’s Proposal: All motions to join other parties,

 and to amend or supplement the pleadings, shall be filed on or before March 31,

 2023, except with respect to pleading inequitable conduct, which shall be filed on

 or before April 17, 2024.]




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       9.     Discovery. 1

              (a)   Discovery Cut Off. All discovery in this case shall be initiated

       so that it will be completed on or before June 14, 2024.

              (b)   Document Production. Document production shall be

       substantially completed on or before February 9, 2024.

              (c)   Requests for Admission. A maximum of 30 requests for

       admission is permitted for each side, except for requests for admission

       relating to authentication, admissibility, or prior art status.

              (d)   Interrogatories. A maximum of 25 interrogatories, including

       contention interrogatories, is permitted for each side.

              (e)   Depositions.

                    (1)      Limitation on Hours for Deposition

              Discovery. Each side is limited to a total of 70 hours of

              taking testimony by deposition upon oral examination.

              This limit does not apply to third-party depositions or to

              expert depositions.



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   Unless the parties can reach agreement, Plaintiff intends to seek leave to amend
 the complaint to add Cisco Systems, Inc. and additional claims. The parties are in
 the process of conferring on that motion and possible modifications to the Order
 including the discovery limits set forth in paragraph 9, in the event of any pleading
 amendments.


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                      (2)    Location of Depositions. Any party or representative

               (officer, director, or managing agent) of a party filing a civil action in

               this District Court must ordinarily be required, upon request, to

               submit to a deposition at a place designated within this District.

               Exceptions to this general rule may be made by order of the Court or

               by agreement of the parties. A defendant who becomes a

               counterclaimant, cross-claimant, or third-party plaintiff shall be

               considered as having filed an action in this Court for the purpose of

               this provision.

        10.    Pinpoint Citations. Pinpoint citations are required in all briefing,

 letters, and concise statements of facts. The Court will ignore any assertions of

 controverted facts and controverted legal principles not supported by a pinpoint

 citation to, as applicable: the record, an attachment or exhibit, and/or case law or

 appropriate legal authority. See United States v. Dunkel, 927 F.2d 955, 956 (7th

 Cir. 1991) (“Judges are not like pigs, hunting for truffles buried in briefs.”).

        11.    Application to Court for Protective Order. Should counsel find it will

 be necessary to apply to the Court for a protective order specifying terms and

 conditions for the disclosure of confidential information, counsel should confer

 and attempt to reach an agreement on a proposed form of order and submit it to

 the Court within thirty days from the date of this Order.


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        Any proposed protective order must include the following paragraph:

              Other Proceedings. By entering this Order and limiting
              the disclosure of information in this case, the Court does
              not intend to preclude another court from finding that the
              information may be relevant and subject to disclosure in
              another case. Any person or party subject to this Order
              who becomes subject to a motion to disclose another
              party’s information designated as confidential pursuant to
              this Order shall promptly notify that party of the motion
              so that the party may have an opportunity to appear and
              be heard on whether that information should be disclosed.

        12.   Disputes Relating to Discovery Matters and Protective Orders. Should

 counsel find that they are unable to resolve a dispute relating to a discovery matter

 or protective order, the parties shall contact the Court’s Case Manager to schedule

 an in-person conference/argument.

              (a)   Unless otherwise ordered, by no later than 72 hours prior to the

       conference/argument, the party seeking relief shall file with the Court a letter,

       not to exceed three pages, outlining the issues in dispute and the party’s

       position on those issues. The party shall submit as attachments to its letter (1)

       an averment of counsel that the parties made a reasonable effort to resolve the

       dispute and that such effort included oral communication that involved

       Delaware counsel for the parties, and (2) a draft order for the Court’s

       signature that identifies with specificity the relief sought by the party. The

       party shall file concurrently with its letter a motion that in no more than one

       paragraph sets forth the relief sought.


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               (b)    By no later than 48 hours prior to the conference/argument, any

       party opposing the application for relief may file a letter, not to exceed three

       pages, outlining that party’s reasons for its opposition.

               (c)    Two hard copies of the parties’ letters and attachments must be

       provided to the Court within one hour of e-filing the document(s). The hard

       copies shall comply with paragraphs 10 and 14 of this Order.

               (d)    If a motion concerning a discovery matter or protective order is

       filed without leave of the Court and does not comport with the procedures set

       forth in this paragraph, the motion will be denied without prejudice to the

       moving party’s right to bring the dispute to the Court through the

       procedures set forth in this paragraph.

       13.     Papers Filed Under Seal. When filing papers under seal, counsel shall

 deliver to the Clerk an original and two copies of the papers. A redacted version

 of any sealed document shall be filed electronically within seven days of the filing

 of the sealed document.

       14.     Hard Copies. The parties shall provide to the Court two hard copies of

 all letters filed pursuant to paragraph 12 of this Order, all briefs, and any other

 documents filed in support of any such letters and briefs (i.e., the concise statement

 of facts filed pursuant to paragraph 20 of this Order, appendices, exhibits,

 declarations, affidavits, etc.). This provision also applies to papers filed under seal.


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              (a)    Exhibits and Attachments. Each exhibit and attachment to a

       letter, brief, or pretrial order shall be separated by a tab. (Accordingly, each

       brief filed in connection with a motion in limine in a pretrial order must be

       separated by a tab.) Each exhibit and attachment shall have page numbers of

       some sort such that a particular page of an exhibit or attachment can be

       identified by a page number. The parties shall take all practical measures to

       avoid filing multiple copies of the same exhibit or attachment. The parties

       should highlight the text of exhibits and attachments they wish the Court to

       read. The parties are encouraged to include in an exhibit or attachment only

       the pages of the document in question that (1) identify the document (e.g., the

       first page of a deposition transcript or the cover page of a request for

       discovery) and (2) are relevant to the issue(s) before the Court.

              (b)    Colors of Front Covers. The covers of briefs filed in

       connection with all motions except for motions in limine included in a

       pretrial order shall be as follows:

                     (1)     Opening brief— Blue

                     (2)     Answering brief— Red

                     (3)     Reply brief— Gray

       15.    Claim Construction Issue Identification. On or before August 11,

 2023, the parties shall exchange a list of those claim term(s)/phrase(s) that they


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 believe need construction. On or before August 23, 2023, the parties shall exchange

 their proposed claim construction(s) of those term(s)/phrase(s). This document will

 not be filed with the Court. Subsequent to exchanging that list, the parties will meet

 and confer to prepare a Joint Claim Construction Chart to be filed no later than

 September 1, 2023. The Joint Claim Construction Chart, in Word format, shall be

 e-mailed simultaneously with filing to cfc civil@ded.uscourts.gov. The text for the

 Joint Claim Construction Chart shall be 14-point and in Times New Roman or a

 similar typeface. The parties’ Joint Claim Construction Chart should identify for the

 Court the term(s)/phrase(s) of the claim(s) in issue and should include each party’s

 proposed construction of the disputed claim language with citation(s) only to the

 intrinsic evidence in support of their respective proposed constructions. A separate

 text-searchable PDF of each of the patent(s) in issue shall be submitted with this Joint

 Claim Construction Chart. In this joint submission, the parties shall not provide

 argument. Each party shall file concurrently with the Joint Claim Construction Chart

 a “Motion for Claim Construction” that requests the Court to adopt the claim

 construction position(s) of that party set forth in the Joint Claim Construction Chart.

 The motion shall not contain any argument and shall simply state that the party

 “requests that the Court adopt the claim construction position[s] of [the party] set

 forth in the Joint Claim Construction Chart (D.I. [ ]).”




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       16.    Claim Construction Briefing. The Plaintiff shall serve, but not file,

 its opening brief, not to exceed 5,500 words, on September 29, 2023. The

 Defendant shall serve, but not file, its answering brief, not to exceed 8,250 words,

 on October 30, 2023. The Plaintiff shall serve, but not file, its reply brief, not to

 exceed 5,500 words, on November 20, 2023. The Defendant shall serve, but not

 file, its sur-reply brief, not to exceed 2,750 words, on December 11, 2023. The

 text for each brief shall be 14-point and in Times New Roman or a similar

 typeface. Each brief must include a certification by counsel that the brief

 complies with the type and number limitations set forth above. The person who

 prepares the certification may rely on the word count of the word-processing

 system used to prepare the brief.

       No later than December 18, 2023, the parties shall file a Joint Claim

 Construction Brief. (Should the parties later stipulate or otherwise request to

 have this deadline extended, the parties will presumptively lose their claim

 construction hearing date upon the Court’s granting the extension.) The parties

 shall copy and paste their untitled briefs into one brief, with their positions on

 each claim term in sequential order, in substantially the form below.

                    JOINT CLAIM CONSTRUCTION BRIEF

              I.     Agreed-upon Constructions

              II.    Disputed Constructions


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                     A.    [TERM 1]

                           1.     Plaintiff’s Opening Position
                           2.     Defendant’s Answering Position
                           3.     Plaintiffs Reply Position
                           4.     Defendant’s Sur-Reply Position

                     B.    [TERM 2]

                           1.     Plaintiff’s Opening Position
                           2.     Defendant’s Answering Position
                           3.     Plaintiffs Reply Position
                           4.     Defendant’s Sur-Reply Position

 Etc. The parties need not include any general summaries of the law relating to

 claim construction. If there are any materials that would be submitted in an

 appendix, the parties shall submit them in a Joint Appendix. Citations to intrinsic

 evidence shall be set forth in the Joint Claim Construction Brief. Citations to expert

 declarations and other extrinsic evidence may be made in the Joint Claim

 Construction Brief as the parties deem necessary, but the Court will review such

 extrinsic evidence only if the Court is unable to construe the disputed claim terms

 based on the intrinsic evidence. See Vitronics Corp. v. Conceptronic, Inc., 90 F.3d

 1576, 1584 (Fed. Cir. 1996). Declarations shall not contain legal argument or be

 used to circumvent the briefing word limitations imposed by this paragraph. The

 Joint Claim Construction Brief and Joint Appendix shall comply with paragraphs 10

 and 14 of this Order.




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       17.    Meet and Confer Confirmation and Amended Claim Chart. On or

 before January 10, 2024, Delaware and lead counsel for the parties shall meet and

 confer and thereafter file an Amended Joint Claim Construction Chart that sets forth

 the terms that remain in dispute. During the meet and confer, the parties shall attempt

 to reach agreement on any disputed terms where possible and to narrow the issues

 related to the remaining disputed terms. The parties shall file with the Amended Joint

 Claim Construction Chart a letter that identifies by name each individual who

 participated in the meet and confer, when and how (i.e., by telephone or in person)

 the meet and confer occurred, and how long it lasted. If no agreements on

 constructions have been reached or if no dispute has been narrowed as a result of the

 meet and confer, the letter shall so state, and the parties need not file an Amended

 Joint Claim Construction Chart.

       18.    Hearing on Claim Construction. Beginning at ___________ _.m. on

 January _, 2024, the Court will hear argument on claim construction. Absent

 prior approval of the Court (which, if it is sought, must be done by joint letter

 submission no later than the date on which the joint claim construction brief is

 filed), the parties shall not present testimony at the argument, and the argument

 shall not exceed a total of three hours.




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       19.   Disclosure of Expert Testimony.

             (a)    Expert Reports. For the party with the initial burden of proof

       on the subject matter, the initial Federal Rule 26(a)(2) disclosure of expert

       testimony is due on or before July 12, 2024. The supplemental disclosure to

       contradict or rebut evidence on the same matter identified by another party is

       due on or before August 16, 2024. Reply expert reports from the party with

       the initial burden of proof are due on or before September 13, 2024. No

       other expert reports will be permitted without either the consent of all parties

       or leave of the Court. Along with the submissions of the reply expert reports,

       the parties shall provide the dates and times of their experts’ availability for

       deposition. Depositions of experts shall be completed on or before October

       11, 2024.

             (b)    Objections to Expert Testimony. To the extent any objection

       to expert testimony is made pursuant to the principles announced in Daubert

       v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), as incorporated

       in Federal Rule of Evidence 702, it shall be made by motion no later than

       the deadline for dispositive motions set forth herein, unless otherwise

       ordered by the Court.




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       20.      Case Dispositive and Daubert Motions.

                (a)   No Early Motions Without Leave. All case dispositive motions

       and the opening briefs and affidavits supporting such motions shall be served

       and filed on or before November 8, 2024. No case dispositive motion under

       Rule 56 may be filed more than ten days before this date without leave of the

       Court. Answering briefs shall be due on or before December 4, 2024.

       Reply briefs for any motions under Rule 56 shall be due on or before

       December 20, 2024. Should the parties later stipulate or otherwise request to

       have the reply brief deadline extended, the parties will lose their trial date

       upon the Court’s granting the extension, and no new trial date will be given

       until the dispositive motion(s) has(have) been decided.

                (b)   Motions to Be Filed Separately. A party shall not combine into

       a single motion multiple motions that rely in whole or in part on different

       facts.

                (c)   Word Limits. Each party is permitted to file as many case

       dispositive motions as desired, provided, however, that each SIDE will be

       limited to a combined total of 10,000 words for all opening briefs, a combined

       total of 10,000 words for all answering briefs, and a combined total of 5,000

       words for all reply briefs, regardless of the number of case dispositive motions

       that are filed. In the event that a party files, in addition to a case dispositive


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       motion, a Daubert motion to exclude or preclude all or any portion of an

       expert’s testimony, the total amount of words permitted for all case dispositive

       and Daubert motions shall be increased for each SIDE to 12,500 words for all

       opening briefs, 12,500 words for all answering briefs, and 6,250 words for all

       reply briefs. The text for each brief shall be 14-point and in Times New

       Roman or a similar typeface. Each brief must include a certification by counsel

       that the brief complies with the type and number limitations set forth above.

       The person who prepares the certification may rely on the word count of the

       word-processing system used to prepare the brief.

                (d)   Ranking of Summary Judgment Motions. A party that files more

       than one summary judgment motion shall number each motion to make clear

       the order in which the party wishes the Court to consider the motions in

       question. The first motion the party wishes the Court to consider shall be

       designated #1, the second motion shall be designated #2, and so on. The

       Court will review the party’s summary judgment motions in the order

       designated by the party. If the Court decides to deny a motion filed by the

       party, barring exceptional reasons determined sua sponte by the Court, the

       Court will not review any further summary judgment motions filed by the

       party.




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              (e)    Ranking of Daubert Motions. A party that files more than one

       Daubert motion shall number each motion to make clear the order in which the

       party wishes the Court to consider the motions in question. The first motion

       the party wishes the Court to consider shall be designated #1, the second

       motion shall be designated #2, and so on. The Court will review the party’s

       Daubert motions in the order designated by the party. If the Court decides to

       deny a motion filed by the party, barring exceptional reasons determined sua

       sponte by the Court, the Court will not review any further Daubert motions

       filed by the party. If the Court denies a Daubert motion and the party that

       brought the motion does not cross examine the expert witness at trial about the

       matters raised in the Daubert motion, the Court will reduce by an appropriate

       amount the time allotted to that party at trial.

              (f)    Concise Statement of Facts Requirement. Any motion for

       summary judgment shall be accompanied by a separate concise statement

       detailing each material fact as to which the moving party contends that

       there are no genuine issues to be tried that are essential for the Court’s

       determination of the summary judgment motion (not the entire case).2 A

       party must submit a separate concise statement of facts for each summary


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  The party must detail each material fact in its concise statement of facts. The
 concise statements of facts play an important gatekeeping role in the Court's
 consideration of summary judgment motions.

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       judgment motion. Any party that opposes the motion shall file and serve

       with its opposing papers a separate document containing a single concise

       statement that admits or disputes the facts set forth in the moving party’s

       concise statement, as well as sets forth all material facts as to which it is

       contended that there exists a genuine issue necessary to be litigated.

              (g)    Focus of the Concise Statement. When preparing the separate

       concise statement, a party shall reference only the material facts that are

       absolutely necessary for the Court to determine the limited issues presented

       in the motion for summary judgment (and no others), and each reference

       shall contain a citation to a particular affidavit, deposition, or other

       document that supports the party’s interpretation of the material fact.

       Documents referenced in the concise statement may, but need not, be filed

       in their entirety if a party concludes that the full context would be helpful to

       the Court (e.g., a deposition miniscript with an index stating what pages

       may contain key words may often be useful). The concise statement shall

       particularly identify the page and portion of the page of the document

       referenced. The document referred to shall have relevant portions

       highlighted or otherwise emphasized. The parties may extract and highlight

       the relevant portions of each referenced document, but they shall ensure that

       enough of a document is attached to put the matter in context. If a party


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       determines that an entire deposition transcript should be submitted, the party

       should consider whether a miniscript would be preferable to a full-size

       transcript. If an entire transcript is submitted, the index of terms appearing

       in the transcript must be included, if it exists. When multiple pages from a

       single document are submitted, the pages shall be grouped in a single

       exhibit. Concise statements of fact shall comply with paragraphs 10 and

       14 of this Order.

             (h)    Word Limits for Concise Statement. The concise statement

       in support of or in opposition to a motion for summary judgment shall be

       no longer than 1,750 words. The text for each statement shall be 14-point

       and in Times New Roman or a similar typeface. Each statement must

       include a certification by counsel that the statement complies with the

       type and number limitations set forth above. The person who prepares the

       certification may rely on the word count of the word-processing system

       used to prepare the statement.

             (i)    Affidavits and Declarations. Affidavits or declarations setting

       forth facts and/or authenticating exhibits, as well as exhibits themselves,

       shall be attached only to the concise statement (i.e., not briefs).

             (j)    Scope of Judicial Review. When resolving motions for

       summary judgment, the Court shall have no independent duty to search


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       and consider any part of the record not otherwise referenced in the

       separate concise statements of the parties. Further, the Court shall have

       no independent duty to review exhibits in their entirety, but rather the

       Court will review only those portions of the exhibits specifically

       identified in the concise statements. Material facts set forth in the moving

       party’s concise statement will be deemed admitted unless controverted by

       a separate concise statement of the opposing party.

       21.    Applications by Motion. Except as otherwise specified herein,

 any application to the Court shall be by written motion. Any non-dispositive

 motion should contain the statement required by Local Rule 7.1.1.

       22.    Pretrial Conference. On May __, 2025, the Court will hold a Rule

 16(e) final pretrial conference in court with counsel beginning at ___________

 _.m. The parties shall file a joint proposed final pretrial order in compliance with

 Local Rule 16.3(c) no later than 5:00 p.m. on April/May __, 2025. Unless

 otherwise ordered by the Court, the parties shall comply with the timeframes set

 forth in Local Rule 16.3(d) for the preparation of the proposed joint final pretrial

 order. The joint pretrial order shall comply with paragraphs 10 and 14 of this

 Order.

       23.    Motions in Limine. Motions in limine shall not be separately filed. All

 in limine requests and responses thereto shall be set forth in the proposed pretrial


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 order. Each party shall be limited to three in limine requests, unless otherwise

 permitted by the Court. Each in limine request and any response shall contain the

 authorities relied upon; each in limine request may be supported by a maximum of

 three pages of argument and may be opposed by a maximum of three pages of

 argument, and the party making the in limine request may add a maximum of one

 additional page in reply in support of its request. If more than one party is

 supporting or opposing an in limine request, such support or opposition shall be

 combined in a single three-page submission (and, for the moving parties, a single

 one-page reply). No separate briefing shall be submitted on in limine requests,

 unless otherwise permitted by the Court. Motions in limine shall comply with

 paragraphs 10 and 14 of this Order.

       24.    Compendium of Cases. A party may submit with any briefing two

 courtesy copies of a compendium of the selected authorities on which the party

 would like the Court to focus. The parties should not include in the compendium

 authorities for general principles or uncontested points of law (e.g., the standards for

 summary judgment or claim construction). An authority that is cited only once by a

 party generally should not be included in the compendium. An authority already

 provided to the Court by another party should not be included in the compendium.

 Compendiums of cases shall not be filed electronically with the Court, but a notice




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 of service of a compendium of cases shall be filed electronically with the Court.

 Compendiums shall comply with paragraph 14 of this Order.

       25.    Jury Instructions, Voir Dire, and Special Verdict Forms. Where a

 case is to be tried to a jury, pursuant to Local Rules 47.1(a)(2) and 51.1, the

 parties should file (i) proposed voir dire, (ii) preliminary jury instructions, (iii)

 final jury instructions, and (iv) special verdict forms no later than 5:00 p.m. on

 April/May __, 2025. The parties shall submit simultaneously with filing each of

 the foregoing four documents in Word format to cfc_civil@ded.uscourts.gov.

       26.     Trial. This matter is scheduled for a five-day jury trial beginning at 8:30

 a.m. on May __, 2025, with the subsequent trial days beginning at 8:30 a.m. Until

 the case is submitted to the jury for deliberations, the jury will be excused each day

 at 4:30 p.m. The trial will be timed, as counsel will be allocated a total number of

 hours in which to present their respective cases.

       27.     Willfulness and Damages. Unless otherwise agreed to by the parties

 and the Court, the trial will be phased such that the issues of willful infringement

 and damages will be tried only if there is a finding of infringement.



  ______________________________
  The Honorable Colm F. Connolly
  United States District Court Judge




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                                    EXHIBIT A


                        EVENT                                DEADLINE

 Rule 26(a)(1) Initial disclosures due                14 days from date of entry
                                                      of Order

 Submission of protective order and ESI order, if     30 days from date of entry
 necessary                                            of Order

 Infringement contentions and mandatory plaintiff     April 21, 2023
 disclosures due

 Invalidity contentions and mandatory defendant       June 21, 2023
 disclosures due

 Exchange of claim terms for construction             August 11, 2023

 Exchange proposed constructions                      August 23, 2023

 Joint claim construction chart with proposed         September 1, 2023
 constructions and intrinsic evidence

 Opening Markman Brief (Plaintiff)                    September 29, 2023

 Rebuttal Markman Brief (Defendant)                   October 30, 2023

 Reply Markman Brief (Plaintiff)                      November 20, 2023

 Sur-reply Markman Brief (Defendant)                  December 11, 2023

 Consolidated joint Markman brief due                 December 18, 2023

 Meet and confer on Markman terms & submission of January 10, 2024
 amended claim term chart

 Substantial completion of document production        February 9, 2024

 Markman hearing                                      January __, 2024




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 Deadline to amend pleadings and join parties,         Plaintiff’s Proposal: June
 including inequitable conduct                         21, 2023, except with
                                                       respect to inequitable
                                                       conduct which will be
                                                       February 16, 2024.

                                                       Defendant’s Proposal:
                                                       March 31, 2023, except
                                                       with respect to inequitable
                                                       conduct which will be
                                                       April 17, 2024.

 Close of fact discovery                               June 14, 2024

 Opening expert reports on issues to which a party     July 12, 2024
 bears the burden

 Rebuttal expert reports                               August 16, 2024

 Reply expert reports                                  September 13, 2024

 Complete expert depositions                           October 11, 2024

 Deadline for case-dispositive and Daubert motions     November 8, 2024

 Opposition to case-dispositive and Daubert motions    December 4, 2024

 Reply to case-dispositive and Daubert motions         December 20, 2024

 Joint proposed pretrial order, as well as in limine     April/May __, 2025
 motions, jury instructions, voir dire, and verdict form

 Final pretrial / scheduling conference                May __, 2025

 Jury Trial                                            May __, 2025


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